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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

NATIONAL AMERICAN INSURANCE
COMPANY, et al.,

      Plaintiffs,

v.                                                         CV No. 19-1020 KG/CG

IRIS RODRIQUEZ, as the Personal
Representative of the ESTATE OF
CHAD ZACK RODRIQUEZ.

      Defendants.

               ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court upon review of the record. IT IS HEREBY

ORDERED that a status conference will be held by telephone on October 9, 2020, at

11:00 a.m. Parties shall call Judge Garza’s AT&T Teleconference line at (877) 810-

9415, follow the prompts, and enter the Access Code 7467959, to be connected to the

proceedings.

      IT IS SO ORDERED.



                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
